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 8
 9                         UNITED STATES DISTRICT COURT

10                        CENTRAL DISTRICT OF CALIFORNIA

11
12   EDGARDO CARILLO,                        Case No.:
13
                  Plaintiff,
                                             COMPLAINT FOR:
14
        vs.
15                                           DENIAL OF CIVIL RIGHTS AND
                                             ACCESS TO PUBLIC FACILITIES
16
     SWEETBARN, INC.; SHERRIE                TO PHYSICALLY DISABLED
17   KAMPHUS; and DOES 1-10,                 PERSONS IN VIOLATION OF THE
18                                           AMERICANS WITH DISABILITIES
                  Defendants.                ACT OF 1990, (42 U.S.C. §12101, et
19                                           seq.) AND THE UNRUH CIVIL
20                                           RIGHTS ACT, (CALIFORNIA CIVIL
                                             CODE §51, et seq.)
21
                                             DEMAND FOR JURY TRIAL
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                                      COMPLAINT - 1
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 1        “[T]he continuing existence of unfair and unnecessary discrimination and
          prejudice denies people with disabilities the opportunity to compete on an
 2
          equal basis and to pursue those opportunities for which our free society
 3        is justifiably famous.” 42 U.S.C. §12101(a)(8).
 4
          “It is the policy of this state to encourage and enable individuals with a
 5        disability to participate fully in the social and economic life of the state ...”
 6        California Government Code §19230(a).

 7
          Plaintiff EDGARDO CARILLO (hereinafter referred to as “Plaintiff”)
 8
     complains of SWEETBARN, INC., a California corporation dba THE VILLAGE
 9
     SWEET SHOPPE; SHERRIE KAMPHUS as an INDIVIDUAL AND A
10
     TRUSTEE OF THE KAMPHUS LIVING TRUST; and DOES 1-10, (each,
11
     individually a “Defendant” and collectively “Defendants”) and alleges as follows:
12
                                        I.      PARTIES
13
           1.     Plaintiff EDGARDO CARILLO is a California resident and a
14
     qualified physically disabled person. He is paraplegic and uses a wheelchair for
15
     mobility. Plaintiff prides himself on his independence and on empowering other
16
     disabled persons to be independent.
17
           2.     Defendants SWEETBARN, INC., SHERRIE KAM, and DOES 1-10
18
     are and were the owners, operators, lessors and/or lessees of the subject business,
19
     property, and facility at all times relevant in this Complaint.
20
           3.     Plaintiff does not know the true names of Defendants, their business
21
     capacities, their ownership connection to the property and business, or their
22
     relative responsibilities in causing the access violations herein complained of, and
23
     alleges a joint venture and common enterprise by all such Defendants. Plaintiff is
24
     informed and believes that each of the Defendants herein, including DOES 1
25
     through 10, inclusive, is responsible in some capacity for the events herein alleged,
26
     or is a necessary party for obtaining appropriate relief. Plaintiff will seek leave to
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28

                                             COMPLAINT - 2
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 1   amend when the true names, capacities, connections, and responsibilities of the
 2   Defendants and Does 1 through 10, inclusive, are ascertained.
 3          4.     Defendants own and owned the property located at 40736 Village
 4   Drive, Big Bear Lake CA 92315 (“Subject Property”) at all relevant times.
 5          5.     Defendants operate and operated a candy store doing business as THE
 6   VILLAGE SWEET SHOPPE (“candy store”), located at the Subject Property, at
 7   all relevant times.
 8          6.     Plaintiff alleges that the Defendants have been and are the owners,
 9   franchisees, lessees, general partners, limited partners, agents, trustees, employees,
10   subsidiaries, partner companies and/or joint ventures of each of the other
11   Defendants, and performed all acts and omissions stated herein within the course
12   and scope of such relationships causing the damages complained of herein.
13                           II.    JURISDICTION AND VENUE
14          7.     This Court has subject matter jurisdiction over this action pursuant to
15   28 U.S.C. §1331 and §1343(a)(3) and (a)(4) for violations of the Americans with
16   Disabilities Act of 1990, U.S.C. §12101, et seq.
17          8.     Pursuant to supplemental jurisdiction, an attendant and related cause
18   of action, arising out of the same nucleus of operative facts and arising out of the
19   same transactions, is also brought under California’s Unruh Civil Rights Act,
20   which expressly incorporates the Americans with Disabilities Act.
21          9.     Venue is proper in this court pursuant to 28 U.S.C. U.S.C. §1391(b)
22   and is founded on the fact that the real property which is the subject of this action
23   is located in this district and that Plaintiff’s causes of action arose in this district.
24                                         III.   FACTS
25          10.    Plaintiff uses a wheelchair for mobility.
26          11.    Defendants’ business is open to the public, a place of public
27   accommodation, and a business establishment.
28

                                            COMPLAINT - 3
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 1         12.    Plaintiff went to the candy store with his family on December 15,
 2   2024, and purchased candy. The receipt he received for his purchase is shown in
 3   the photo below.
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20         13.    Unfortunately, during Plaintiff’s visit, Defendants did not offer
21   persons with disabilities equivalent facilities, privileges, advantages, and
22   accommodations offered to other persons.
23         14.    Plaintiff encountered barriers that interfered with and denied Plaintiff
24   the ability to use and enjoy the goods, services, privileges, advantages, and
25   accommodations offered by Defendants at the Subject Property.
26         15.    These barriers violate one or more standards of the Americans with
27   Disabilities Act (“2010 ADA”) and/or the California Building Codes (“2022
28   CBC”).
                                          COMPLAINT - 4
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 1         16.    Defendants do not provide an accessible transaction counter for use
 2   with persons in wheelchairs like Plaintiff. Transaction counters for patrons visiting
 3   the store are among the facilities, privileges advantages, and accommodations
 4   offered by Defendants. When a business provides facilities such as a sales or
 5   transaction counter, it must provide an accessible sales or transaction counter. The
 6   candy store has a sales counter where it handles its transactions with customers.
 7   However, Defendants failed to provide an accessible sales counter. The sales
 8   counter is significantly more than 34 inches in height.
 9         17.    The candy store has a portion of the counter which is lower than 36
10   inches in height. However, Defendants have completely covered that portion of the
11   counter with merchandise and even have a sign redirecting customers to the
12   inaccessible counter. 2010 ADA §904.4, 2010 ADA §904.4.1; 2022 CBC 11B-
13   904.4, 2022 CBC 904.4.1
14         18.    The candy store has a Point-of-Sale machine located on the
15   inaccessible counter. This results in an obstructed high reach without clear floor
16   space beneath equal to or more than the reach depth over the counter and/or a side
17   reach containing an obstruction (the counter), the depth of which is more than ten
18   inches. After attempting to reach the card reader independently, Plaintiff had to
19   have a family member take his phone and complete the transaction for him,
20   causing him both frustration and embarrassment. 2010 ADA §308.2.2; 2022 CBC
21   11B-308.2.2; 2010 ADA §308.3.1; 2022 CBC 11B-308.3.1; 2022 CBC 11B-904.4.
22   //
23   //
24   //
25   //
26   //
27   //
28   //

                                         COMPLAINT - 5
     Case 2:25-cv-00847-AB-KS     Document 1      Filed 01/30/25   Page 6 of 16 Page ID #:6




 1         19.    The photos below show one or more of these violations.
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           20.    The barriers existed during Plaintiff’s visit to the Subject Property.
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     Plaintiff personally encountered these barriers.
17
           21.    These inaccessible conditions and barriers denied Plaintiff full and
18
     equal access and caused him difficulty, discomfort, and embarrassment. Because of
19
     the lack of a compliant transaction counter, he had to strain to reach the point-of-
20
     sale machine and suffer the embarrassment of needing the assistance of his family
21
     member to pay his bill.
22
           22.    These barriers denied Plaintiff full and equal access due to his
23
     disability because, inter alia, they caused Plaintiff anxiety, difficulty, discomfort,
24
     and embarrassment which patrons who do not use a wheelchair for mobility do not
25
     suffer when they access the Subject Property.
26
           23.    Plaintiff has Article III standing because he enjoys visiting Big Bear
27
     with his family for vacations, and generally visits at least twice a year. The Subject
28

                                          COMPLAINT - 6
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 1   Property is conveniently located for short vacations or day trips. Plaintiff intends to
 2   return to the Subject Property after the accessibility barriers alleged herein have
 3   been removed.
 4         24.    Plaintiff alleges that Defendants knew that the barriers prevented
 5   equal access. Plaintiff further alleges that Defendants had actual or constructive
 6   knowledge that the architectural barriers prevented equal access, and that the
 7   noncompliance with the Americans with Disabilities Act and Title 24 of the
 8   California Building Code regarding accessible features was intentional.
 9         25.    Defendants have obstructed or failed to maintain, in working and
10   useable conditions, those features necessary to provide ready access to persons
11   with disabilities. “A public accommodation shall maintain in operable working
12   condition those features of facilities and equipment that are required to be readily
13   accessible to and usable by persons with disabilities.” 28 C.F.R. §36.211(a); 2022
14   CBC 11B-108.
15         26.    The State of California Department of General Servicers, Division of
16   the State Architect (DSA) provides commentary to 2022 CBC 11B-108 as follows:
17         Features for accessibility must be permanently functional, unobstructed
           and may not be removed. It is not sufficient to provide features such as
18
           accessible routes, parking, elevators, ramps or signage if those features
19         are not maintained in a manner that enables individuals with disabilities
20         to use them.

21   DSA, 2019 California Access Compliance Advisory Reference Manual, p.84.
22         27.    Defendants have the financial resources to remove these barriers
23   without much expense or difficulty in order to make their property more accessible
24   to their mobility impaired customers. The United States Department of Justice has
25   identified that these types of barriers are readily achievable to remove.
26         28.    To date, Defendants have failed to remove these barriers, in violation
27   of the law, depriving disabled persons including Plaintiff of important civil rights.
28

                                          COMPLAINT - 7
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 1         29.    The barriers to access are listed above without prejudice to Plaintiff
 2   citing additional barriers to equal access by an amended complaint after inspection
 3   by Plaintiff’s Certified Access Specialist (CASp). Oliver v. Ralphs Grocery Co.,
 4   654 F.3d 903 (9th Cir. 2011); Doran v. 7-Eleven, Inc., 524 F.3d 1034 (9th Cir.
 5   2008); Chapman v. Pier One Imports (USA), Inc., 631 F.3d 939 (9th Cir. 2011).
 6   All of these barriers to access render the premises inaccessible to physically
 7   disabled persons who are mobility impaired, such as Plaintiff, are barriers Plaintiff
 8   may encounter when he returns to the premises. All public accommodations must
 9   be brought into compliance with all applicable federal and state accessibility
10   requirements.
11                              FIRST CAUSE OF ACTION
12                Violation of the Americans With Disabilities Act of 1990
13                                (42 U.S.C. §12101, et seq.)
14                                 (Against All Defendants)
15         30.    Plaintiff alleges and incorporates by reference, as if fully set forth
16   again herein, each and every allegation contained in all prior paragraphs of this
17   complaint.
18         31.    More than thirty years ago, the 101st United States Congress found
19   that although “physical or mental disabilities in no way diminish a person’s right to
20   fully participate in all aspects of society, yet many people with physical or mental
21   disabilities have been precluded from doing so because of discrimination…in such
22   critical areas as employment, housing, public accommodations, education,
23   transportation, communication, recreation, institutionalization, health services,
24   voting, and access to public services.” 42 U.S.C. §12101(a).
25         32.    In 1990 Congress also found that “the Nation’s proper goals regarding
26   individuals with disabilities are to assure equality of opportunity, full participation,
27   independent living, and economic self-sufficiency for such individuals,” but that
28   “the continuing existence of unfair and unnecessary discrimination and prejudice

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 1   denies people with disabilities the opportunity to compete on an equal basis and to
 2   pursue those opportunities for which our free society is justifiably famous.” 42
 3   U.S.C. §12101(a).
 4         33.    In passing the Americans with Disabilities Act of 1990, which was
 5   signed into law by President George H. W. Bush on July 26, 1990 (hereinafter the
 6   “ADA”), Congress stated as its purpose:
 7         “It is the purpose of this Act
 8
           (1) to provide a clear and comprehensive national mandate for the
 9         elimination of discrimination against individuals with disabilities;
10
           (2) to provide clear, strong, consistent, enforceable standards
11         addressing discrimination against individuals with disabilities;
12
           (3) to ensure that the Federal Government plays a central role in
13         enforcing the standards established in this Act on behalf of individuals
14         with disabilities; and

15         (4) to invoke the sweep of congressional authority, including the power
16         to enforce the fourteenth amendment and to regulate commerce, in
           order to address the major areas of discrimination faced day to-day by
17         people with disabilities.”
18
     42 USC §12101(b).
19
20         34.    As part of the ADA, Congress passed “Title III – Public
21   Accommodations and Services Operated by Private Entities” (42 U.S.C. §12181 et
22   seq.). Title III of the ADA prohibits discrimination against any person “on the
23   basis of disability in the full and equal enjoyment of the goods, services, facilities,
24   privileges, advantages, or accommodations of any place of public accommodation
25   by any person who owns, leases (or leases to), or operates a place of public
26   accommodation.” 42 U.S.C. §12182(a).
27         35.    The specific prohibitions against discrimination include, inter alia, the
28   following:

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 1      • 42 U.S.C. §12182(b)(1)(A)(ii): “Participation in Unequal Benefit. - It
 2        shall be discriminatory to afford an individual or class of individuals,
          on the basis of a disability or disabilities of such individual or class,
 3        directly, or through contractual, licensing, or other arrangements, with
 4        the opportunity to participate in or benefit from a good, service, facility,
          privilege, advantage, or accommodation that is not equal to that
 5        afforded to other individuals.”
 6
        • 42 U.S.C. §12182(b)(2)(A)(ii): “a failure to make reasonable
 7        modifications in policies, practices, or procedures when such
 8        modifications are necessary to afford such goods, services, facilities,
          privileges, advantages, or accommodations to individuals with
 9        disabilities...;”
10
        • 42 U.S.C. §12182(b)(2)(A)(iii): “a failure to take such steps as may be
11        necessary to ensure that no individual with a disability is excluded,
12        denied service, segregated, or otherwise treated differently than other
          individuals because of the absence of auxiliary aids and services...;”
13
14      • 42 U.S.C. §12182(b)(2)(A)(iv): “a failure to remove architectural
          barriers, and communication barriers that are structural in nature, in
15
          existing facilities... where such removal is readily achievable;”
16
17      • 42 U.S.C. §12182(b)(2)(A)(v): “where an entity can demonstrate that
          the removal of a barrier under clause (iv) is not readily achievable, a
18        failure to make such goods, services, facilities, privileges, advantages,
19        or accommodations available through alternative methods if such
          methods are readily achievable.”
20
21         36.    Plaintiff is a qualified individual with a disability as defined in the
22   Rehabilitation Act and in the Americans with Disabilities Act of 1990.
23         37.    The acts and omissions of Defendants set forth herein were in
24   violation of Plaintiff’s rights under the ADA and the regulations promulgated
25   thereunder, 28 C.F.R. Part 36 et seq.
26         38.    The removal of each of the physical and policy barriers complained of
27   by Plaintiff as hereinabove alleged, were at all times herein mentioned “readily
28   achievable” under the standards of §12181 and §12182 of the ADA. Removal of

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 1   each and every one of the architectural and/or policy barriers complained of herein
 2   was already required under California law. Further, on information and belief,
 3   alterations, structural repairs or additions since January 26, 1993, have also
 4   independently triggered requirements for removal of barriers to access for disabled
 5   persons per §12183 of the ADA. In the event that removal of any barrier is found
 6   to be “not readily achievable,” Defendants still violated the ADA, per
 7   §12182(b)(2)(A)(v) by failing to provide all goods, services, privileges, advantages
 8   and accommodations through alternative methods that were “readily achievable.”
 9         39.    On information and belief, as of the date of Plaintiff’s encounter at the
10   premises and as of the filing of this Complaint, Defendants’ actions, policies, and
11   physical premises have denied and continue to deny full and equal access to
12   Plaintiff and to other mobility disabled persons in other respects, which violate
13   Plaintiff’s right to full and equal access and which discriminate against Plaintiff on
14   the basis of his disabilities, thus wrongfully denying to Plaintiff the full and equal
15   enjoyment of the goods, services, facilities, privileges, advantages and
16   accommodations, in violation of 42 U.S.C. §12182 and §12183 of the ADA.
17         40.    Defendants’ actions continue to deny Plaintiff’s rights to full and
18   equal access and discriminated and continue to discriminate against him on the
19   basis of his disabilities, thus wrongfully denying to Plaintiff the full and equal
20   enjoyment of Defendants’ goods, services, facilities, privileges, advantages and
21   accommodations, in violation of the ADA, 42 U.S.C. §12182.
22         41.    Further, each and every violation of the Americans With Disabilities
23   Act of 1990 also constitutes a separate and distinct violation of California Civil
24   Code §51(f), §52, §54(c) and §54.1(d), thus independently justifying an award of
25   damages and injunctive relief pursuant to California law, including but not limited
26   to Civil Code §54.3 and §55.
27   //
28   //

                                          COMPLAINT - 11
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 1                             SECOND CAUSE OF ACTION
 2                          Violation of the Unruh Civil Rights Act
 3                            (California Civil Code §51, et seq.)
 4                                  (Against All Defendants)
 5          42.    Plaintiff alleges and incorporates by reference, as if fully set forth
 6   again herein, each and every allegation contained in all prior paragraphs of this
 7   complaint.
 8          43.    California Civil Code §51 provides that physically disabled persons
 9   are free and equal citizens of the state, regardless of their medical condition or
10   disability:
11          All persons within the jurisdiction of this state are free and equal, and
            no matter what their sex, race, color, religion, ancestry, national origin,
12
            disability, or medical condition are entitled to full and equal
13          accommodations, advantages, facilities, privileges, or services in all
            business establishments of every kind whatsoever.
14
15   California Civil Code §51(b) (emphasis added).
16          44.    California Civil Code §51.5 also states, in part: “No business,
17   establishment of any kind whatsoever shall discriminate against…any person in
18   this state on account” of their disability.
19          45.    California Civil Code §51(f) specifically incorporates (by reference)
20   an individual’s rights under the ADA into the Unruh Act.
21          46.    California Civil Code §52 provides that the discrimination by
22   Defendants against Plaintiff on the basis of his disability constitutes a violation of
23   the general antidiscrimination provisions of §51 and §52.
24          47.    Each of Defendants’ discriminatory acts or omissions constitutes a
25   separate and distinct violation of California Civil Code §52, which provides that:
26          Whoever denies, aids or incites a denial, or makes any discrimination
27          or distinction contrary to section 51, 51.5, or 51.6 is liable for each and
            every offense for the actual damages, and any amount that may be
28          determined by a jury, or a court sitting without a jury, up to a maximum

                                          COMPLAINT - 12
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 1         of three times the amount of actual damage but in no case less than four
           thousand dollars ($4,000), and any attorney’s fees that may be
 2
           determined by the court in addition thereto, suffered by any person
 3         denied the rights provided in Section 51, 51.5, or 51.6.
 4
           48.    Any violation of the Americans with Disabilities Act of 1990
 5
     constitutes a violation of California Civil Code §51(f), thus independently
 6
     justifying an award of damages and injunctive relief pursuant to California law,
 7
     including Civil Code §52. Per Civil Code §51(f), “A violation of the right of any
 8
     individual under the Americans with Disabilities Act of 1990 (Public Law 101-
 9
     336) shall also constitute a violation of this section.”
10
           49.    The actions and omissions of Defendants as herein alleged constitute a
11
     denial of access to and use of the described public facilities by physically disabled
12
     persons within the meaning of California Civil Code §51 and §52.
13
           50.    The discriminatory denial of equal access to and use of the described
14
     public facilities caused Plaintiff difficulty, discomfort, and embarrassment.
15
           51.    As a proximate result of Defendants’ action and omissions,
16
     Defendants have discriminated against Plaintiff in violation of Civil Code §51 and
17
     §52, and are responsible for statutory, compensatory and actual damages to
18
     Plaintiff, according to proof.
19
                                      PRAYER FOR RELIEF
20
            Plaintiff has no adequate remedy at law to redress the wrongs suffered as set
21
     forth in this Complaint. Plaintiff has suffered and will continue to suffer
22
     irreparable injury as a result of the unlawful acts, omissions, policies, and
23
     practices of the Defendants as alleged herein, unless Plaintiff is granted the relief
24
     he requests. Plaintiff and Defendants have an actual controversy and opposing
25
     legal positions as to Defendants’ violations of the laws of the United States and
26
     the State of California.
27
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                                           COMPLAINT - 13
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 1         The need for relief is critical because the civil rights at issue are paramount
 2   under the laws of the United States of America and the State of California.
 3         WHEREFORE, Plaintiff prays judgment against Defendants, and each of
 4   them, as follows:
 5              1.       Issue a preliminary and permanent injunction directing
 6        Defendants as current owners, operators, lessors, and/or lessees of the
 7        Subject Property and premises to modify the above described property,
 8        premises, policies and related facilities to provide full and equal access
 9        to all persons, including persons with physical disabilities; and issue a
10        preliminary and permanent injunction pursuant to ADA §12188(a) and
11        state law directing Defendants to provide facilities and services usable
12        by Plaintiff and similarly situated persons with disabilities, and which
13        provide full and equal access, as required by law, and to maintain such
14        accessible facilities once they are provided; to cease any discriminatory
15        policies; and to train Defendants’ employees and agents how to
16        recognize disabled persons and accommodate their rights and needs;
17              2.       Retain jurisdiction over the Defendants until such time as
18        the Court is satisfied that Defendants’ unlawful policies, practices, acts
19        and omissions, and maintenance of physically inaccessible public
20        facilities and policies as complained of herein no longer occur, and
21        cannot recur;
22              3.       Award to Plaintiff all appropriate damages, including but
23        not limited to actual and statutory damages according to proof;
24              4.       Award to Plaintiff all reasonable attorney fees, litigation
25        expenses, and costs of this proceeding pursuant to 42 U.S.C §12205 and
26        California Civil Code §52; and
27              5.       Grant such other and further relief as this Court may deem
28        just and proper.

                                         COMPLAINT - 14
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     DATED: January 30, 2025                    VALENTI LAW APC
 3
 4                                        By: /s/ Matthew D. Valenti
 5                                            Matthew D. Valenti
 6                                            Attorney for Plaintiff
                                              Edgardo Carillo
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                                     COMPLAINT - 15
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 1                                   JURY DEMAND
 2         Plaintiff hereby demands a trial by jury for all claims and issues for which a
 3   jury is permitted.
 4
 5
 6
     DATED: January 30, 2025                       VALENTI LAW APC
 7
 8                                           By: /s/ Matthew D. Valenti
 9                                               Matthew D. Valenti
10                                               Attorney for Plaintiff
                                                 Edgardo Carillo
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                                       COMPLAINT - 16
